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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

DAVID JOHN CANNON,                              )
                                                )
       Petitioner,                              )
vs.                                             )    CIVIL ACTION NO. 06-0141-CG
                                                )    CRIMINAL NO. 02- 0088-CG
UNITED STATES,                                  )
                                                )
       Respondent.                              )

                                             ORDER

       This matter is before the court on the motion of petitioner, David John Cannon, to modify

sentence pursuant to 18 U.S.C. § 3582 or, alternatively, 28 U.S.C. § 2255 (Docs. 62, 64), and the

response thereto of the United States (Doc. 117). For the reasons stated below, the court finds

that petitioner’s motion to modify sentence is due to be DENIED.

                                        BACKGROUND

       Petitioner was tried and found guilty of kidnaping that resulted in death, in violation of

18 U.S.C. § 1201(a)(1). On March 25, 2003, petitioner was sentenced to a term of life

imprisonment. (Doc. 47). Judgment was entered on March 26, 2003. (Doc. 47).

       Petitioner appealed his conviction, challenging the district court’s denial of a motion to

suppress. The Eleventh Circuit affirmed the district court’s decision, issuing its mandate on

August 25, 2004. (Doc. 60).

       Petitioner filed a petition for writ of certiorari with the Supreme Court of the United

States on November 19, 2004, which was denied on January 10, 2005. Cannon v. United States,

No. 04-7299, 543 U.S. 1073 (2005).




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                                           DISCUSSION

       Petitioner seeks a modification of his sentence under either 18 U.S.C. § 3582 or,

alternatively, 28 U.S.C. § 2255 on the basis of United States v. Booker, 543 U.S. 220, 125 S.Ct.

738, 160 L.Ed.2d 621 (2005). The United States asserts that Booker is not retroactively

applicable to cases on collateral review under either statute.

       The Booker opinion was issued on January 12, 2005. Petitioner’s conviction became

final when the Supreme Court denied his petition for certiorari on January 10, 2005, two days

before the decision in Booker. Clay v. United States, 537 U.S. 522, 527 (2003) (“Finality

attaches when this Court affirms a conviction on the merits on direct review or denies a petition

for a writ of certiorari, or when the time for filing a certiorari petition expires.”). Booker has not

been made retroactively applicable to cases on collateral review. Varela v. United States, 400

F.3d 864, 868 (11th Cir.2005). Booker is also not a proper basis for § 3582(c)(2)1 relief because

Booker did not amend the guidelines. “[A] sentencing adjustment undertaken pursuant to

Section 3582(c)(2) does not constitute a de novo resentencing.” United States v. Bravo, 203 F.3d

778, 781 (11th Cir.), cert denied, 531 U.S. 994 (2000). “[A]ll original sentencing determinations

remain unchanged with the sole exception of the guideline range that has been amended since

the original sentencing.” Id. Plaintiff’s sentence became final prior to the Booker decision and

therefore any argument dependent upon Booker is without merit.

       The court further finds that no hearing is necessary in this case because petitioner’s



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         Subsection (c)(2) is the subsection under which petitioner presumably seeks
modification of his sentencing. Section 3582(c)(2) allows a court to reduce a sentence where a
sentencing range was subsequently lowered by the Sentencing Commission. 18 U.S.C. §
3582(c)(2).

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allegations, if proved, would not establish the right to relief. See Futch v. Dugger, 874 F.2d

1483, 1485 (11th Cir. 1989) ( “habeas corpus petitioner is entitled to an evidentiary hearing if he

alleges facts which, if proven, would entitle him to relief” and “only if there are material facts

that were not adequately developed either in the federal district court or in the state habeas

corpus proceedings” citations omitted). Where a petitioner seeks relief as a matter of law, there

is no need for an evidentiary hearing. See Holmes v. United States, 876 F.2d 1545 (11th Cir.

1989) (hearing not required on patently frivolous claims).



                                          CONCLUSION

       For the reasons stated above, the motion of petitioner, David John Cannon, to modify

sentence pursuant to 18 U.S.C. § 3582 or, alternatively, 28 U.S.C. § 2255 (Docs. 62, 64) is

hereby DENIED.

       DONE and ORDERED this 30th day of January, 2007.


                                             /s/ Callie V. S. Granade
                                         CHIEF UNITED STATES DISTRICT JUDGE




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